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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OFNEW YORK

ROBERT SEXAUER, JONATHAN SCHWAl·
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NATASHA LABBAN, REGENASTEM, INC., CELL"
INNOVATIONS PTY LTD., ALLWIN SCIENTIFIC
CORPORATION and PBH HOLDINGS LLC.,                                    · VERIFIED COMPLAINT

                                                   Plaintiffs,
                         -against-                                    JURY TRIAL DEMANDED

INTELLICELL        BIOSCIENCES, INC.,    STEVEN
VICTOR, MD, in his capacity as Chairmen -CEO,
and individually, ANNA RHODES as the Executive
Vice President of Operations and individually, and
LEONARD L. MAZUR as interim Chief Operating
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Officer and individually,
                                                                       LM rMAR 312015 H1u
                                                   Defendants.
                                                                              U.S.D.C. S.D. N.Y.
                                                                                 CASHIERS


      NOW COMES Robert Sexauer, Jonathan Schwartz, Natasha Labban,

Regenastem, Inc., Cell Innovations Pty Ltd., AllWin Scientific Corporation and

PBH Holdings LLC., Plaintiffs in their individual rights by their

attorneys, The Law Offices of Douglas R. Dollinger, Esq., P.C., &

Associates, as direct claims against the defendants IntelliCell Bio Sciences,

Inc., Steven Victor, MD, in his capacity as Chairmen & CEO, and

individually, Anna Rhodes as the Executive Vice President of Operations and

individually, and Leonard L. Mazur as interim Chief Operating Officer and
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individually, as and for this Complaint, upon the Plaintiffs' personal                                                                                     b.O
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           Complaint For Direct Shareholder(s), Employee(s) and Licensee(s) Claims
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knowledge and upon information and belief, as to all other matters asserted

herein, alleging as follows:

                                                I.
                                NATURE OF THE ACTION

      Plaintiffs are proceeding in their individual capacities for injuries unique

to each of them as against IntelliCell Bio Science as former employees, and

franchise licensee(s) asserting direct claims for recovery of their individual

damages for acts of wrongdoing including among other things claims of fraud

in the sale and delivery of securities, misrepresentation in the offers of

employment; fraud in the sale and purchase of franchise-licenses breach of

contract, conversion breach of fiduciary duties by certain of its Board members

in their capacity as officers of the Company and in their individual capacities.

                                               II.
                              JURISDICTION and VENUE

     1.        This Court has jurisdiction over all claims asserted herein

pursuant to 28 U.S.C. § 1332(a)(2), because complete diversity exists

between Plaintiffs and most defendants; where the amount in controversy

exceeds $75,000.00.

      2.       In the alternative, there exists federal questions of law as related to
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and in connection with the sale, use and delivery of securities in violation of               00
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Section lO(b) and Section 20(a) of the Securities Exchange Act of 1934, 15

U.S.C. §78j(b) (the "Exchange Act"), and SEC Rule 10 b-5, 17 C.P.R.§ 240.lOb-

5, promulgated there under, as well as 18 USC §§1341and1344 et seq.

     3.       Venue is proper in this jurisdiction pursuant to 28 U.S.C. §

139l(b) insofar as the defendant corporation IntelliCell is headquartered in

this district at 460 Park Avenue, 17th Floor New York, New York, each of

the individual defendants are doing business in the State of New York, and

all or a substantial part of the events or omissions giving rise to the claims of

misconduct contained herein, including the electronic publication and

dissemination of false and misleading financial documents or other

information relied on upon which plaintiff and others relied in the

purchase of their securities, occurred substantially in this district.

                                               III.
                          SUPPLEMENTAL JURISDICTION

      4.       To the extent that any of the Plaintiffs claims lack an independent

basis for original federal jurisdiction, this Court has supplemental jurisdiction

over those claims under 28 U.S.C. § 1367 because they are so related to the

claims within this Court's original jurisdiction, that they form a part of the same

case or the controversy under Article III of the United States Constitution.
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                                               IV.
                                   PARTIES/STANDING
Plaintiffs:

      5.       Plaintiff-Robert Sexauer is a resident of the State of Illinois and

was/is a former employee of IntelliCell.

      6.       Plaintiff-Natasha Labban is a resident of the State of New York

and was/is a former employee oflntelliCell.

      7.       Plaintiff-Jonathan Schwartz is a resident of the State of New Jersey

and was/is a former employee oflntelliCell.

      8.       Allwin Scientific Corporation was and is a Colorado Corporation

with offices located at 770 W. Hampden Ave. No. 250 Englewood, Colorado,

80110 and was/is a licensee-franchisee ofintelliCell.

      9.       At all times relevant herein, defendant, Regenastem, Inc., was and is

a Canadian Corporation engaged in medical research maintaining its principle

place of business and its executive offices located at 13 King Street West Stoney

Creek, ON L8G 109, Canada and was/is a licensee-franchisee oflntelliCell.

      10.      At all times relevant herein, defendant, Cell Innovations Pty Ltd.

was and is an Australian Limited Corporation engaged in medical research

maintaining its principle place of business at 21 b Bathurst Street, Liverpool NSW            ~
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2170 Sydney, Australia and was/is a licensee-franchisee ofintelliCell.                        t:J..


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           11.      At all times relevant herein, defendant, PBH Holdings LLC., was

    and is a Texas Corporation with offices located at 4315 Magnolia Lane

    Sugarland, Texas and was/is a licensee-franchisee oflntelliCell.

    Defendants:

           12.      At all times relevant herein, defendant, IntelliCell Bio Sciences Inc.,

    ("IntelliCell" or "Company") was and is a Nevada Corporation engaged in

    medical research offering medical technology based franchises and maintaining its

    principle place of business in the State of New York, having its executive offices

    located at 460 Park Avenue, 17th Floor New York, New York.

           13.       Upon information and belief, defendant Steven Victor, MD,

    ("Victor") is domiciled and residing in the State of New York, and a doctor

    of medicine duly licensed to practice medicine or is otherwise conduct medical

    research in the State of New York.

           14.       At all times relevant herein, defendant Victor is or was the

    Chairman of the Board of Directors and Chief Executive Officer ("CEO'~ of the

    IntelliCell.

           15.       Upon      information        and    belief,     defendant       Anna        Rhodes

    ("Rhodes") is domiciled and residing in the State ofNew York.

           17.      At     all times       relevant     herein, defendant Rhodes was the                  l£)
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    Executive Vice President of Operations of IntelliCell.                                                ~



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       18.       Upon information and belief, defendant Leonard L. Mazur

("Mazur") is domiciled and residing in the State ofNew York.

       19.       Upon information and belief, defendant Mazur was and is the

interim Chief Operating Officer of IntelliCell.

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                                              FACTS

       20.       IntelliCell is a publically traded OTC Nevada Corporation trading

on the NASDAQ under the ticker symbol "SVFC".

       21.       The Company is subject to the Securities Exchange Act of 1934,

15 U.S.C. falling under the rules-regulation of the Securities and Exchange

Commission [""SEC"] when issuing information statements concerning

significant events, statements of material change and financial performance

statements in relation to the sale and purchase and of its securities.

       22.       The Company's information statements must be accurate and

attested to by its officers, filed with the SEC and available for public inspection.

       23.       Since commencing in or about July 2011 and continuing to date,

the Company's information statements were attested to for their accuracy by

Victor, and were filed with the SEC whereby they were available for public

inspection.
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 All of the claims are asserted for the period commencing at least November 1, 2010, by operation of    ~
assignment of the right to the SVFSCR Process and continuing to the present (the "Relevant Period").   c...

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      24.       Since commencing in or about July 2011 and continuing to date

the Company has issued and continues to issue its securities in consideration

for direct payment in the purchase of said securities and also in matters where

securities are issued in consideration of employee services and in the sale-

purchase of franchise-licenses.

      25.       Since commencing in or about July 2011 and continuing to date the

Company has issued Plaintiffs its shares-securities in consideration for direct

payment of employee services and the sale-purchase of franchise licenses.

      26.       Upon information and belief, the company has not filed a proper

franchise registration statement in New York or any other jurisdiction.

                                                VI.
                                  FRANCHISE-LICENSEES

      27.       Since commencing in or about July 2011 and continuing to date

IntelliCell's primary business is focused and dedicated to technology

development in the expanding regenerative medical markets and licensing its

technology to franchise-licensees for a fee and revenue sharing.

      28.       In support of its technology delivery IntelliCell sought individuals

for employment with experience in areas dedicated to the service needs, and

quality assurance in the sale and delivery of franchises-licenses associated with
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regenerative medicine.                                                                         Q)

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      29.      Since commencing in or about July 2011 and continuing to date,

Defendant IntelliCell has sold its technology as a claimed newly discovered

process using adipose stromal vascular fraction stem cell rejuvenation [from

time-to-time "SVFSCR Process" or "Process"]through it franchise business

under a "Laboratory Services License Agreement" ["Franchise Agreement",

"Agreement" or "Franchise-License"].

      30.      The Company issued "marketing materials" and publically released

statements conforming and supporting the statements that the SVFSCR Process was

developed by Dr. Steven Victor, patented and filed with United States Patent and Trade

Office [''USPTO"] with an assignment to the Company from at least July 2011,

wherein the Company reported the USPTO filing and assignment in its SEC filings.

      31.       Upon learning of the filing and assignment, commencing as early as

September 2011, Plaintiffs Regenastem, Inc., Cell, Innovations Pty Ltd., Allwin

Scientific Corporation and PBH Holdings LLC., [collectively "Plaintiff(s)-

Licensee(s)"] each independently began to explore opportunities to purchase a

:franchise licenses from IntelliCell reviewing the Company's marketing materials,

SEC filings and making inquiries wherein each were responded to by Defendant

Victor.

      32.       In connection with the inquires and claimed opportunity to
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purchase licenses and so as to induce Plaintiffs into the purchase of said licenses            C\l
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the Company via Victor told Plaintiffs-Licensee Regenastem, Inc., by Jasen

Kane; told Plaintiff-Licensee Cell, Innovations Pty               Ltd., by Wayne Thomas;

told Plaintiff-Licensee Allwin Scientific Corporation by William Hess; and told

Plaintiff-Licensee PBH Holdings LLC., by Patrica Dixon that he had invented-

developed a process which provided a 97% live cell recovery using his patented

SVFSCR Processing of adipose stromal vascular fraction stem cell rejuvenation

in human begins; that the process was compliant and covered under section 361

of the Public Health Service Act (PHS Act) [42 §U.S.C. 264]; that Victor was

working with the Food and Drug Administration ["FDA"], where the FDA had

determined the process was exempt from the requirements of 21 CFR

1271.lO(a)( 1).

      33.     In connection with the claimed opportunity to purchase franchise

licenses, and so as to induce Plaintiffs into the purchase of said franchise

licenses, the Company via Victor, Rhodes and Mazur provide Plaintiffs-

Licensees with their marketing material including but not limited to laboratory

reports, testing data, copies of patent application(s) and an issued patent for the

SVFSCR Process with claimed financial projections, terms of fee splitting and

performance-trading oflntelliCell's issued stock.

      34.     Commencing in or about July 2011 and thereafter the Company by
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Victor, Rhodes and Mazur sent Plaintiffs-Licensees numerous e-mail                            ~
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messages containing internet links to marketing materials and photographic

exhibits prepared by or for the Company.

      35.    These materials contained representations relating to acquisition of

and the planned operations under the Franchise Agreement, including the

medical credentialing process for physicians operating the franchised centers,

contracting assistance with medical insurance companies for payments of

claims for SVFSCR Process services to be provided to the franchisees clients;

for the purchase of laboratory equipment :from the Company's vendors, and,

most importantly the material statements which contained the claim that the

SVFSCR Process as patented and filed with the USPTO provide a 97% live cell

recovery for redelivery to patients, the Process was FDA compliant with claims

assuring the Plaintiffs-Licensees that they would have on going information,

guidance and assistance to manage, and other and operate the business so that

franchisees would acquire a turn-key operation.

AllWin's Franchise-License Agreement:

      36.    At a time prior to June 14, 2011, William Hess on behalf of AllWin

reviewed the franchise business plan-Agreement available to franchisees as

provided to him by the Company and further reviewed the Company's SEC &

USTPO filings via the Internet.                                                             0


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      37.      Mr. Hess's findings were consistent with the financial information

disclosed and the business model presented in the Agreement as well as the

technology claimed in the Company's SEC & USPTO filings.

      38.      The express statements published by the Company and as supported in

its SEC & USPTO filings included statements that Dr. Victor had invented-discovered

a process which provided a 97% live stem cell recovery using his patented SVFSCR

Processing of adipose stromal vascular fraction stern cell rejuvenation in human begins;

allowing for the processing and redelivery of the live stem cells in human begins; that

the process was compliant and covered under section 361 of the Public Health Service

Act (PHS Act) [42 §U.S.C. 264]; that Victor was working with the Food and Drug

Administration ["FDA"], where the FDA had determined the process was exempt from

the requirements of21 CFR 1271.lO(a)( l); the promised delivery of substantial and on-

going expert support in the operations of the franchise center including (but not limited

to) providing equipment for onsite SVFSCR processing, the fee splitting terms and

performance-trading ofintelliCell's issued stock

      39.       In reliance upon the statements and representations made above

and in all of the associated marketing materials, filings reviewed and/or

communicated to AllWin by Victor, on June 14, 2011 AllWin agreed to enter

into a Franchise Agreement with the Company which granted AllWin a five
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year license to the SVFSCR Process allowing AllWin to provide tissue

processing services within a 25 mile radius of Denver, Colorado.

      40.      In consideration for the Franchise Agreement AllWin agreed to

pay and paid the Company (i) a license fee of $80,000.00 and (ii) and agreed to

pay an ongoing fee equal to $500.00 for each tissue processing case.

      41.       On or about June 14, 2011 AllWin signed the Franchise Agreement

with the Company for the development of a franchise location at 770 W.

Hampden Ave. No. 250 Englewood, Colorado, 80110. The Company via

Victor countersigned the Agreement on or about June 14, 2011.

      42.       After execution of the Agreement and in preparation and

anticipation of opening its franchise center and IntelliCell support service

AllWin paid franchise license fees, office rent, office improvements (lab-build

out) postage/shipping, travel, supplies                 phone/communication, msurance,

legal/accounting/marketing fees, and other recoverable expenses.

      43.       The Agreement provided for termination by either party in the

event of a material default of any duty, obligation or responsibility imposed by

the Agreement which has not been cured within ten business days after the non-

defaulting party gave written notice to the defaulting party of such default.

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      44.      Notwithstanding          the    promised        delivery      of its         services-

technology to AllWin, although demanded by AllWin IntelliCell has refused

and otherwise improperly withheld delivery of said services-technology and

support.

      45.       That in or about April 2012, based on communication-warnings

issued by the FDA in or about November 2011, and again in March April 2012,

AllWin discovered that the statements made by the Victor on behalf of the

Company were false and misleading including the statements that he had

invented-discovered a process which provided a 97% live cell recovery using

his patented SVFSCR Processing of adipose stromal vascular fraction stem cell

rejuvenation for redelivery in human begins; that the process was compliant and

covered under section 361 of the Public Health Service Act (PHS Act) [42

§U.S.C. 264]; that Victor was working with the Food and Drug Administration

["FDA"], where the FDA had determined the process was exempt from the

requirements of 21 CFR 1271.IO(a)( 1).

      46.       At all times during the relevant period in response to the discovery

of the false-misleading information and after June 2012, AllWin provided

written notice to the Company advising IntelliCell of material defaults in the

Company's Franchise Agreement with them.
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PBH's Franchise-License Agreement:

      47.      At a time prior to June 27, 2011, Patricia Dixon on behalf of PBH

reviewed the franchise business plan-Agreement available to franchisees as

provided to her by the Company and further reviewed the Company's SEC &

USTPO filings via the Internet.

      48.      Ms.     Dixon's      findings      were     consistent with the              financial

information disclosed and the business model presented in the Agreement as

well as the technology as claimed in the Company's SEC & USPTO filings.

      49.      The express statements published by the Company and as supported

in its SEC & USPTO filings included statements that Dr. Victor had invented-

discovered a process which provided a 97% live stem cell recovery using his

patented SVFSCR Processing of adipose stromal vascular :fraction stem cell

rejuvenation in human begins; allowing for the processing and redelivery of the live

stem cells in human begins; that the process was compliant and covered under

section 361 of the Public Health Service Act (PHS Act) [42 §U.S.C. 264]; that

Victor was working with the Food and Drug Administration ["FDA"], where the

FDA had determined the process was exempt from the requirements of 21 CFR

1271.lO(a)( l); the promised delivery of substantial and on-going expert support in the

operations of the franchise center including (but not limited to) providing equipment for               ~

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onsite SVFSCR processing,             the fee splitting terms and performance-trading of

IntelliCell' s issued stock

       50.      In reliance upon the statements and representations made above

and in all of the associated marketing materials, filings reviewed and/or

communicated to PBH by Victor, on June 27, 2011 PBH agreed to enter into a

Franchise Agreement with the Company which granted PBH a five year license

to the SVFSCR Process allowing PBH to provide tissue processing services

within a 25 mile radius of Sugarland, Texas.

       51.       In consideration for the Franchise Agreement PBH agreed to pay

and paid the Company (i) a license fee of $60,000.00 and (ii) and agreed to pay

an ongoing fee equal to $500.00 for each tissue processing case.

       52.       On or about June 27, 2011 PBH signed the Franchise Agreement

with the Company for the development of a franchise location at 4315

Magnolia Lane Sugarland, Texas. The Company via Victor countersigned the

Agreement on or about June 27, 2011.

       53.       After execution of the Agreement and in preparation and

anticipation of opening its franchise center and IntelliCell support service PBH

paid franchise license fees, office rent, office improvements (lab-build

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out) postage/shipping, travel, supplies                 phone/communication, msurance,

legal/accounting/marketing fees, and other recoverable expenses _

      54.       The Agreement provided for termination by either party in the

event of a material default of any duty, obligation or responsibility imposed by

the Agreement which has not been cured within ten business days after the non-

defaulting party gave written notice to the defaulting party of such default.

      55.      Notwithstanding the promised delivery of its services-technology to

PBH, although demanded by PBH IntelliCell has refused and otherwise

improperly withheld delivery of said services-technology and support

      56.       That in or about April 2012, based on communication-warnings

issued by the FDA in or about November 2011, and again in March April 2012,

PBH discovered that the statements made by the Victor on behalf of the

Company were false and misleading including the statements that he had

invented-discovered a process which provided a 97% live cell recovery using

his patented SVFSCR Processing of adipose stromal vascular fraction stem cell

rejuvenation for redelivery in human begins; that the process was compliant and

covered under section 361 of the Public Health Service Act (PHS Act) [42

§U.S.C. 264]; that Victor was working with the Food and Drug Administration

("FDA"], where the FDA had determined the process was exempt from the
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requirements of 21 CFR 1271.lO(a)( 1).                                                          0...


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      57.      At all times during the relevant period in response to the discovery

of the false-misleading information and after June 2012, PBH provided written

notice to the Company advising IntelliCell of material defaults in the

Company's Franchise Agreement with them.

Regenastem's Franchise-License Agreement:

      58.      At all times prior to December 15, 2011, Jason Kane on behalf of

Regenastem reviewed the franchise business plan-Agreement available to

franchisees as provided to him by the Company and further reviewed the

Company's SEC & USPTO filings via the Internet.

      59.      Mr. Kane's findings were consistent with the financial information

disclosed and the business model presented in the Agreement as well as the

technology as claimed in the SEC & USPTO filings.

      60.       The     express statements published by the Company and as

supported in its SEC & USPTO filings included statements that Dr. Victor had

invented-developed a process which provided a 97% live stem cell recovery

using his patented SVFSCR Processing of adipose stromal vascular fraction

stem cell rejuvenation in human begins; allowing for the processing and

redelivery of       the live stem cells in human begins; that the process was

compliant and covered under section 361 of the Public Health Service Act (PHS
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Act) [42 §U.S.C. 264]; that Victor was working with the Food and Drug

Administration ["FDA"], where the FDA had determined the process was

exempt from the requirements of21CFR1271.lO(a)( l); the promised delivezyof

substantial and on-going expert support in the operations of the franchise center

including (but not limited to) providing equipment for onsite SVFSCR processing, the

fee splitting terms and performance-trading of futelliCell 's issued stock

       61.       In reliance of the statements and representations made above and in

all of the associated marketing materials, filings reviewed and/or communicated

Regenastem by Dr. Victor as well as the promise delivery of IntelliCell

transferable shares, on December 15, 2011 Regenastem agreed to enter into a

Franchise Agreement with the Company which granted Cell-Innovations a ten

years license to the SVFSCR Process; allowing Regenastem to provide tissue

processing services within territorial borders of Canada.

       62.       In consideration of the Franchise Agreement and delivery of

IntelliCell' s shares, Regenstem agreed to pay and paid the Company (i) a

license fee of $500,000.00 and (ii) agreed to pay an ongoing fee                             equal to

$1,000.00 for each tissue processing case.

       63.       On or about December 15, 2011 Regenastem signed the Franchise

Agreement with the Company for the development of a franchise location 13                               ~
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King Street West Stoney Creek, ON L8G 1G9, Canada. The Company via

Victor countersigned the Agreement on or about December 17, 2011.

      64.      After execution of the Agreement and in preparation and

anticipation of opening its franchise center and IntelliCell support service

Regenastem paid franchise license fees, office rent, office improvements (lab-

build out) postage/shipping, travel, supplies phone/communication, insurance,

legal/accounting/marketing fees, and other recoverable expenses.

      65.       The Agreement provided for termination by either party in the

event of a material default of any duty, obligation or responsibility imposed by

the Agreement which has not been cured within ten business days after the non-

defaulting party gave written notice to the defaulting party of such default.

      66.      Notwithstanding the promised delivery of its technology and

services and of its IntelliCell securities as payment to Regenastem wherein

Regenastem was promised transfer rights, although demanded by Regenastem

IntelliCell has refused and otherwise improperly withheld delivery of said

technology the associated services and of its securities.

      67.       That in or about April 2012, based on communication-warnings

issued by the FDA in or about November 2011, and again in April 2012,

Regenastem discovered that the statements made by the Victor on behalf of the                  ~
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Company were false and misleading including the statements that he had

invented-discovered a process which provided a 97% live cell recovery using

his patented SVFSCR Processing of adipose stromal vascular fraction stem cell

rejuvenation for redelivery in human begins; that the process was compliant and

covered under section 361 of the Public Health Service Act (PHS Act) [42

§U.S.C. 264]; that Victor was working with the Food and Drug Administration

["FDA"], where the FDA had determined the process was exempt from the

requirements of 21 CFR 1271.lO(a)( 1).

      68.       At all times during the relevant period in response to the discovery

of the false-misleading information and after June 2012, Regenastem provided

written notice to the Company advising IntelliCell of material defaults in the

Company's Franchise Agreement with them.

Cell-Innovation's Franchise-License Agreement:

      69.       At all times prior to December 17, 2011, Wayne Thomas on behalf

of Cell-Innovations reviewed the franchise business plan-Agreement available

to franchisees as provided to him by the Company and further reviewed the

Company's SEC & USPTO filings via the Internet.



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       70.       Mr. Wayne's findings were consistent with the financial

information disclosed and the business model presented in the Agreement as

well as the technology as claimed in the SEC & USPTO filings.

       71.       The      express statements published by the Company and as

supported in its SEC & USPTO filings included statements that Dr. Victor had

invented-discovered a process which provided a 97% live stem cell recovery

using his patented SVFSCR Processing of adipose stromal vascular fraction

stem cell rejuvenation in human begins; allowing for the processing and

redelivery of        the live stem cells in human begins; that the process was

compliant and covered under section 361 of the Public Health Service Act (PHS

Act) [42 §U.S.C. 264]; that Victor was working with the Food and Drug

Administration ["'FDA"], where the FDA had determined the process was

exempt from the requirements of 21 CFR 1271.lO(a)( l); the promised delivery of

substantial and on-going expert support in the operations of the franchise center

including (but not limited to) providing equipment for onsite SVFSCR processing, the

fee splitting terms and performance-trading of futelliCell' s issued stock

       72.       In reliance of the statements and representations made above and in

all of the associated marketing materials, filings reviewed and/or communicated

to Cell-Innovations by Dr. Victor as well as the promise delivery of IntelliCell                -
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transferable shares, on December 17, 2011 Cell-Innovations agreed to enter into

a Franchise Agreement with the Company which granted Cell-Innovations a

ten years license to the SVFSCR Process; allowing Cell-Innovations to provide

tissue processing services within territorial borders of Australia & New

Zealand.

        73.      In consideration of the Franchise Agreement and delivery of

IntelliCell's shares, Cell-Innovations agreed to pay and paid the Company (i) a

license fee of $700,000.00 and (ii) agreed to pay an ongoing fee equal to

$12.5% net for each tissue processing case.

        74.       On or about December 17, 2011 Cell-Innovations signed the

Franchise Agreement with the Company for the development of a franchise

location at 21 b Bathurst Street, Liverpool NSW 2170 Sydney, Australia. The

Company via Victor countersigned the Agreement on or about December 17,

2011.

        75.       After execution of the Agreement and in preparation and

anticipation of opening its franchise center and IntelliCell support service Cell-

Innovations paid franchise license fees, office rent, office improvements (lab-

build out) postage/shipping, travel, supplies phone/communication, insurance,

legal/accounting/marketing fees, and other recoverable expenses .                                 N
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      76.       The Agreement provided for termination by either party in the

event of a material default of any duty, obligation or responsibility imposed by

the Agreement which has not been cured within ten business days after the non-

defaulting party gave written notice to the defaulting party of such default.

      77.      Notwithstanding the promised delivery of its technology and

services and of its IntelliCell securities as payment to Cell-Innovations wherein

Cell-Innovations was promised transfer rights, although demanded by Cell-

Innovations IntelliCell has refused and otherwise improperly withheld delivery of

said technology the associated services and of its securities.

      78.       That in or about April 2012, based on communication-warnings

issued by the FDA in or about November 2011, and again in March April 2012,

Cell-Innovations discovered that the statements made by the Victor on behalf of

the Company were false and misleading including the statements that he had

invented-discovered a process which provided a 97% live cell recovery using

his patented SVFSCR Processing of adipose stromal vascular fraction stem cell

rejuvenation for redelivery in human begins; that the process was compliant and

covered under section 361 of the Public Health Service Act (PHS Act) [42

§U.S.C. 264]; that Victor was working with the Food and Drug Administration

["FDA"], where the FDA had determined the process was exempt from the                           ("')
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requirements of 21 CFR 1271.lO(a)( 1).                                                          ~



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      79.       At all times during the relevant period in response to the discovery

of the false-misleading information and after May 2012, Cell-Innovations

provided written notice to the Company advising IntelliCell of material

defaults in the Company's Franchise Agreement with them.

                                                VII.
            INTELLICELL'S FAILURE TO PAY AND CONVERSION
              OF EMPLOYEES' WAGES-BREACH OF CONTRACT

      80.       At all times during the Relevant Period the Company employed

certain individuals as support personnel in the development of its Franchisee-

Licensee operations including Sarah R. Young as a Lab Director and Quality

Assurance Officer; Natasha Labban as a medical assistant and consultant;

Jonathan Schwartz, as Vice President of Sales and Marketing; and Robert

Sexauer, as Executive Vice President of Clinical Studies.

Robert Sexuaer:

      81.       At all relevant times effective February 2012 Plaintiff Sexauer was

offered a written employment agreement ("Employment Agreement") with the

Company to assume the position as Executive Vice President Clinical

Development.

      82.       The Employment Agreement expressly provided and Sexauer was
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promised an annual salary of $275,000.00; together with other compensation                     N
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including an annual bonus of 50% calculated on his base salary and performance;

payment for relocation allowance in the sum $50,000.00; a signing incentive in the

form of 250,000 transferable IntelliCell shares and purchase options of an

additional 100,000.00 IntelliCell shares over a three (3) year period.

      83.      At all relevant times effective February 2012 Plaintiff Sexauer

agreed to the terms offered by the Company and executed the Employment

Agreement which was countersigned by the Company whereupon he assumed

the position as Executive Vice President Clinical Development under the terms as

set forth in the Employment Agreement.

      84.      At all relevant times Plaintiff Sexauer in the performance of his

services was responsible to oversee the articles and other publications of

information related to the SVFSCR Process coordinating in house laboratory

testing and clinical studies with franchisees-licensees and third-party biologist.

      85.      At all relevant times Plaintiff Sexauer authorized the Company to

deduct both federal and state taxes including payroll taxes, social security taxes,

New York State Unemployment Tax.                  Likewise, he authorized deductions for

employee contributions to the Company's 401K benefits plan.

      86.       Shortly after commencing his employment with IntelliCell the

Company advised Plaintiff Sexauer that it was going to be late with payment to                  l£)
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him as provided for under the terms of his Employment Agreement for the reason

that it was waiting distribution-infusion of investors' funds and requested that he

continue his employment with the Company wherein the Company would make

payment to him upon being funding.

      87.       At all relevant times Plaintiff Sexauer agreed to allow the

accumulation of his salary pending receipt of investors' funds.

      88.       At all relevant times on or about April 7, 2013, Plaintiff Sexauer

received memo from Dr. Victor directing him to publish information realted to the

success and effects of SVFSCR Process using laboratory and clinical data

establishing a 97% live cell recovery for redelivery to IntelliCell patients.

       89.      At times prior to April 7, 2013, Plaintiff Sexauer received notice from

intelliCell employees, Franchisees-Licensees Regenastem, Inc., by Jasen Kane, Cell

Innovations Pty Ltd., by Wayne Thomas and third-party Rutgers University professors

of biology advising IntelliCell that the claims of Dr. Victor, including the statements

that the SVFSCR Process provided a 97% live cell recovery for redelivery to patients

using his patented SVFSCR Processing of adipose stromal vascular fraction stem cell

rejuvenation in human begins was false and scientifically untrue.

       90.       At times prior to April 7, 2013, Plaintiff Sexauer received notice and

was aware of the FDA warnings presnted to IntelliCell and Dr. Victor advsing                    \0
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them not to promote the SVFSCR Process as FDA approved and directing the

Company to retract its claims.

       91.      In response to the April 7, 2013 memo Sexauer advised Dr. Victor that it

would be improper to publish such an article based on the findings made by

Regenastem and Cell Innovations as well as the findings by third-party Rutgers

University professors of biology where in each instance they advised IntelliCell and Dr.

Victor that his claims of a 97% revocery of live cells was not supported by third-party

laboratory testing or clinical data and that he would not publish an article reproting

otherwise without independent verification of the claim laboratory test and clinical data.

       92.      Likewsie, Plaintiff Sexauer advised Dr. Victor that it would be

improper-fraudulent to publish such an article based on the FDA warnings and

refused to have the publications released.

       93.       Shortly after Plaintiff Sexauer refused to allow the publication of the

false materials as demanded by Dr. Victor the Company in retaliation terminated

Plaintiff Sexauer from his position.

       94.      At all times during the Relevant Period Plaintiff Sexauer has

demanded payment of his accrued wages and the Company has refused to meet its

contractual obligations-terms as promised to Sexauer under his Employment

Agreement with the Company wherein for the period commencing 2012 and                           r--
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continuing to the present the Company has refused and otherwise failed to make

monetary payments of an amount in excess of$ 436,457 .00.

      95.      At all relevant times the Company failed to deliver it transferable

shares as promised to Plaintiff Sexauer.

Natasha Labban:

      96.       At all relevant times effective October 2009 Plaintiff Labban was

offered employment with the Company to assume the position as a medical

assistant and consultant.

      97.       The terms of employment expressly provided and Labban was

promised an annual salary of approximately $42,000; together with other

compensation including sick-time, accumulated vacation, and employment

incentive in the form of transferable IntelliCell shares.

      98.       At all relevant times effective October 2009 Plaintiff Labban

accepted the offered employment with the Company and assume the position as

a medical assistant and consultant.

      99.       At all relevant times Plaintiff Labban auhtroized the Company to

deduct both federal and state taxes including payroll taxes, social security taxes,

New York State Unemployment Tax. Likewise, she authorized deductions for

employee contributions to the Company's 401k benefits plan.                                    00
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      100. At all relevant times Plaintiff Labban in the performance of her

services was requirees to advance expenses in the perfoamnce of her services to

the Company wherein PlaintiffLabban extended the sum of $2,494.59.

      101. In or about June 2102 Labban was terminated for the Company's

inability to make payroll.

      102. At all times during the Relevant Period the Labbon has demanded

payment of her wages and the Company has refused to meet its contractual

obligations-terms as promised to Labban under her employment agreement with

the Company wherein for the period commencing 2012 and continuing to May

to the present the Company has refused and otherwise failed to make monetary

payments of an amount in excess of$ 16,693.09.

      103. At all relevant times the Company failed to deliver it transferable

shares as promised to Plaintiff Lab ban.

Johathan Schwartz:

      104. At all times during the Relevant Period, Schwartz was an employee

of IntelliCell wherein IntellCell wrongly terminated his employment and

thereafter entered into a settlement agreement with him in or about 2013.

      105. The settlement agreement called for cash in the sum of $53,000.00

and 200,000 transferable IntelliCell shares and an additional 100,000 options.              °'
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      106.    At all times during the Relevant Period, Schwartz has demanded

payment of his cash and transferable IntelliCell shares, IntelliCell has refused to

make payment or delivery of transferable IntelliCell shares to him.

                                            VIII.
             INTELLICELL'S CONVERSION OF FIDUCIARY TAX
             WITHHOLDINGS, CONVERSION OF EMPLOYEES'
             WAGE CONTRIBUTIONS AND FALSE FILINGS WITH
             BOTH FEDERAL AND STATE TAXING AUTHORITIES

      107. At all times during the Relevant Period IntelliCell by Victor,

Rhodes and Mazur were charged with the fiduciary duties to accurately make

employee wage payments, administer and properly deduct both federal and

state patrol taxes including but not limited to social security taxes and New

York State Unemployment tax. Likewise, was their duty to protect-administer

employee contributions to the Company's 401k benefits plan.

      108. At all times during the Relevant Period Young, Lab ban, Schwartz

and Sexauer were salaried employees under contract with IntelliCell and had

executed W-2s, W-4s or other documents necessary for reporting if wages and their

associated tax liabilities. Likewise, they executed all of the necessary documents for

payments and participation in the Company's 40 lk benefits plan.

      109. At all times during the Relevant Period the Company via Victor,
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Rhodes and Mazur's was required to accurately report wages and withholdings                   ~
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making the employees deductions-payments as fiduciaries into state and federal tax

treasuries as well as into the account(s) of the 401k benefit plan manager.

        110.      At all times during the Relevant Period, at the direction of Victor, Rhodes

with the assistance of Mazur said defendants collected/withheld said payments but intentionally,

recklessly and/or negligently misidentified wages by falsely filing 1099's or other documents in

the names Young, Labban, Schwartz and Sexauer wherein the Company issued Young,

Labban, Schwartz and Sexauer employee payroll checks while it withheld the full portions of

taxes due on the wages earned but intentionally, recklessly or negligently under paid into both

the state and federal treasuries the actual amounts deducted and as required illegally keeping the

money for the operations oflntelliCell or directly for their own personal use.

        111.      At all times during the Relevant Period Young, Labban, Schwartz and

Sexauer have been unable to accurately report their income or otherwise receive

full credit for their deductions including amounts which were deducted for social

security taxes, unemployment benefits and 40 lk benefits.

                                           COUNT I.
               DAMAGES AND RESCISSION FOR VIOLATIONS OF
               NEW YORK'S FRANCHISE REGISTRATION AND
               DISCLOSURE UNDER GENERAL BUSINESS LAW
                                     (Against IntelliCell)

        112. Plaintiffs Regenastem,          Inc., Cell Innovations         Pty     Ltd.,   Allwin

Scientific Corporation and PBH Holdings LLC., repeat and incorporate by reference
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the allegations in Paragraphs "1" through "111" above as if fully set forth here-again.              C;l
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       113. At all times during the Relevant Period, the Company and its

Board were required to file with the State of New York and other

jurisdictions its disclosure statements where it sold its franchises-

licenses concerning the SVFSCR Processes and services, physician and

patient protocols and its status as a drug or non-drug where the usage and

terms are of stem cell recovery and defined under section 361 of the Public

Health Service Act (PHS Act) [42 §U.S.C. 264] and 21 CFR 1271.lO(a)( 1) and

marketed under the trade name as IntelliCell's SVFSCR Process.

       114. In connection with the sale of IntelliCell franchise-licenses to

Plaintiffs,   Regenastem,      Inc., Cell Innovations      Pty Ltd.,      Allwin      Scientific

Corporation and PBH Holdings LLC, by the defendants Victor, Rhodes and

Mazur, each of them., made multiple untrue statements of material facts;

and/or omitted to state material facts in the Company's publications-filings

necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading. This conduct was in violation of

the :franchise registration and disclosure requirements under New York

General Business Law Art 33 as defined in§ 681 et seq.

       115. The untrue statements of material fact and omissions of material
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fact were made by defendants IntelliCell, Victor, Rhodes and Mazur during                          ~
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the period September 2011, in and continuing until June 2012 through the

various marketing and promotional materials selling the franchise-licensees

where the information and materials communicated to Plaintiffs Regenastem,

Inc., Cell Innovations        Pty    Ltd.,    Allwin       Scientific Corporation and PBH

Holdings LLC during the this period were communicated through telephone

conversations,       emails      and     other     written,      electronic      and       verbal

communications.

        116. IntelliCell, Victor, Rhodes and Mazur, knew, or in the exercise

of reasonable care should have known, of the untrue statements of material fact

and omissions of material fact.

        117. Plaintiffs Regenastem,              Inc.,   Cell Innovations          Pty      Ltd.,

Allwin     Scientific Corporation and PBH Holdings LLC did not know, and in

the exercise of reasonable care could not have known, of the untruths and

om1ss1ons.

        118. By reason of the foregoing, as a direct and proximate result of

defendants' wrongful conduct, Plaintiffs Regenastem, Inc., Cell Innovations Pty

Ltd.,    Allwin     Scientific Corporation and PBH Holdings LLC were induced to

purchase the franchise-license offered by IntelliCell and suffered financial loss in

an amount to be proven at trial but in a sum no less than $75,000.00 each.                          t:""J
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      119. Pursuant to New York Business Law defendants are civilly liable

to plaintiffs Regenastem, Inc., Cell Innovations Pty Ltd., Allwin

Scientific Corporation and PBH Holdings LLC, for the damages sustained as

a result of the grant of the franchise-license.

      120. Pursuant to New York Business Law the Court may order

IntelliCell to rescind the franchise-license and make restitution to Plaintiffs

Regenastem,     Inc., Cell Innovations Pty Ltd., Allwin Scientific Corporation

and PBH Holdings LLC.

      121. By reason off the foregoing IntelliCell is liable for the damages

heretofore claimed and to be proven at trial in an amount to be proven at trial

but in an amount no less than $75,000.00.

      122. By reason off the foregoing IntelliCell is liable for punitive

damages in an amount to be awarded by a jury.

                                            COUNT II.
                                              FRAUD
                                  (Against All Defendants)
      123.       Plaintiffs Regenastem, Inc., Cell Innovations                    Pty     Ltd.,

All win       Scientific Corporation and PBH Holdings LLC., repeat and

incorporate by reference the allegations in Paragraphs "1" through "122"

above as if fully set forth.                                                                      ~
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       124. During the period September 2011, in and through the June 2012,

through the various marketing and promotional materials selling the franchise-

licensees where the information and materials communicated to Plaintiffs

Regenastem, Inc., Cell Innovations Pty Ltd., Allwin             Scientific Corporation and PBH

Holdings LLC during the this period were communicated through telephone

conversations, emails and other written, electronic and verbal communications.

       125. Defendants, and each of them, made or caused to be made multiple

false representations and material omissions to the Plaintiffs Regenastem, Inc., Cell

Innovations Pty Ltd., Allwin             Scientific Corporation and PBH Holdings LLC.,

relating to their purchase of a IntelliCell franchise-license, as alleged heretofore.

       126. The falsity of such statements and omissions was either known to the

defendants or they were made with reckless indifference as to their truth;

       127. The misrepresentations and omissions were made for the purpose of

defrauding these plaintiffs by inducing them to purchase an IntelliCell franchise-

license; Plaintiffs Regenastem,         Inc.,   Cell Innovations         Pty     Ltd.,        Allwin

Scientific Corporation and PBH Holdings LLC., relied on the misrepresentations and

omissions, and had the right to rely on them.

       128. By reason of the foregoing plaintiffs Regenastem,                         Inc.,     Cell

Innovations Pty Ltd., Allwin              Scientific Corporation and PBH Holdings LLC.,                on
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suffered compensable injury resulting from the misrepresentations and omissions, in

that they were induced to purchase IntelliCell's franchise-license and make

substantial investments to organize and operate their businesses.

       129. During the period September 2011 and though June 2012, Defendants:

       (a)       made or caused to be made multiple false representations and material

omissions to the plaintiffs relating to the certification of their :franchise-licenses and

its financial performance as alleged herein;

       (b)       the falsity of such statements and omissions was either known to

Defendants or they were made with reckless indifference as to their truth;

       (c)       the misrepresentations and omissions were made for the purpose of

defrauding these Plaintiffs by continuing to conceal from them the near-

certainty that the franchise would not perform as represented; September 2011,

in and through the June 2012, through the various marketing and promotional

materials selling the franchise-licensees where the information and materials

communicated to Plaintiffs Regenastem,                  Inc., Cell Innovations          Pty   Ltd.,

Allwin       Scientific Corporation and PBH Holdings LLC during the this period

were communicated through telephone conversations, emails and other written,

electronic and verbal communications, so that Plaintiffs would move forward

with the development of the franchise, continue to invest substantial additional                      '°
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funds and falsely believe that they would open the franchise under the terms

provided;

       (d)      plaintiffs relied on the misrepresentations and omissions, and had the

right to rely on them; and

       (e)      the plaintiffs suffered compensable injury resulting from the

misrepresentations and omissions.

       130. The conduct of the defendants as alleged herein was accomplished with

actual malice, in that it was the product of conscious and deliberate wrongdoing, the

knowing and intentional misrepresentation and concealment of material infonnation,

wrongful motive, intent to injure, and fraud.

       131. By reason off the foregoing IntelliCell is liable for the damages

heretofore claimed and to be proven at trial in an amount to be proven at trial but in

an amount no less than $75,000.00.

       132. By reason off the foregoing IntelliCell is liable for punitive damages m

an amount to be awarded by a jury.

                                           COUNT III.
                           NEGLIGENT MISREPRESENTATION
                                  (Against All Defendants)

       133. Plaintiffs Regenastem, Inc., Cell Innovations Pty Ltd., Allwin
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Scientific Corporation and PBH Holdings LLC., repeat and incorporate by                          Q)

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reference the allegations in Paragraphs "1" through "132" above as if fully set

forth above.

      134. Defendants owed a duty of care to the plaintiffs to provide them

with full, accurate and truthful information regarding the material aspects of the

franchise they were considering whether to purchase, including but not limited

to initial investment requirements, working capital requirements and earnings

and financial performance data, as well as the requirements for and time

required to achieve credentialing and third-party payer contracting following the

purchase of a franchise.

      135. In breach of that duty the Defendants negligently asserted or

caused to be asserted multiple false statements, and negligently omitted to

disclose material facts, as set forth heretofore.

      136. The Defendants intended that their statements would be acted on by the

plaintiffs. They had knowledge that the plaintiffs would rely on their statements

in making the decision to purchase a franchise-license and to plan for, organize

and operate the franchise business, and further knew that the statements, if

erroneous, would cause plaintiffs to suffer loss or injury.

      137. Plaintiffs made decisions and took action in reliance on the

Defendants' false statements.                                                                00
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      138. As a direct and proximate result of the Defendants' negligent

representations and omissions, plaintiffs suffered financial loss.

      139. By reason off the foregoing IntelliCell is liable for the damages

heretofore claimed and to be proven at trial in an amount to be proven at trial

but in an amount no less than $75,000.00.

      140. By reason off the foregoing IntelliCell is liable for punitive

damages in an amount to be awarded by a jury.

                                       COUNT IV.
VIOLATION OF SECTION lO(B) OF THE EXCHANGE ACT [15 U.S.C. § 7&J(B)]
AND RULE lOB-5 (A),(B)AND (C) THEREUNDER (17 C.F.R § 240.lOB-5]
                                    (AH Defendants)

      141. Plaintiffs Robert Sexauer, Jonathan Schwartz, and Natasha Labban

Regenastem,     Inc.,   Cell Innovations           Pty      Ltd.,     Allwin         Scientific

Corporation and PBH Holdings LLC., repeat and incorporate by reference the

allegations in Paragraphs "1" through "140" above as if fully set forth above.

      142. IntelliCell, Victor, Rhodes and Mazur by engaging in the conduct

described above, directly or indirectly, by use of and the means and/or

instrumentality of interstate commerce, and the wire facilities, the facilities of

the national securities exchange network and information filings with the SEC

in connection with the purchase and/or sale of securities:
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      (a) with scienter, employed, devices, schemes, or artifices to defraud,                     on
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        (b) made untrue statements of material facts or omitted to state material
            facts necessary in order to make the statements made, in the light of
            the circumstances under which they were made, not misleading, or

        (c) engaged in acts, practices, or courses of business which operate or
            would operate as a fraud or deceit upon any person.

        143. At all times during the Relevant Period, the Company and its Board

were required to timely prepare and file accurate 8-K's and/or lOQ's with the

SEC for public disclosure of significant events and/or accuracy in the

operations of the Company and its claimed technology processes and failed to do

so.

        144. During the Relevant Period, in performance of the scheme to raise

capital, induce employee services and in the sale of franchise licenses through

the    sale and use        of IntelliCell's securities,           IntelliCell's        with the

primary/secondary assistance of Victor, Rhodes and Mazur commencing July

2011 and thereafter including November 19, 2011                    and again on March 30,

2012, intentionally withheld information and notified the SEC and presented

in its public filings that it was delaying its filings of the Company's Form I

OQ, without disclosing the foregoing FDA warnings - findings wherein

the reasons published were knowingly false and otherwise misleading by
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omission in furtherance of the Victor, Rhodes and Mazur primary support of                         ~
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the intended fraudulent activity designed to allow the Company to continue to

maintain employees and otherwise sell Franchise-Licenses without timely

disclosing the warnings-findings-restrictions of the employees, Franchises-

Licensees and the FDA

      145. That in the performance of the frauds aforesaid, IntelliCell 's Board

as well as the individuals Victor, Rhodes and Mazur intentionally failed to do

so in violation of IO(b) and 20(a) of the Exchange Act of the Securities

Exchange Act of 1934, 15 U.S.C. §78j(b) (the "Exchange Act"), and SEC Rule I

Ob-5, 17 C.P.R. § 240. lOb-5, promulgated thereunder.

      146. By reason and as a result of the primary and/or secondary acts of

Victor, Rhodes and Mazur, in the filing omissions IntelliCell's common

stock traded at artificially inflated prices creating a false sense of worth in

the value of the Company's stock such that employees Labban, Sexauer,

former employee Schwartz and the Franchise-Licensees Regenastem,                         Inc.,

Cell Innovations      Pty     Ltd.,     Allwin        Scientific Corporation and PBH

Holdings LLC relied on the value as believed set in the market in entering

into agreements with IntelliCell and in accepting securities as compensation

for their services or payment.

      147. However, after these revelations were disclosed to the public, the
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Company's stock price plummeted nearly 97% from their performance                                 ~
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hindering the Company's ability to raise capital for continued research so as to

become compliant with the FDA's review process and otherwise fulfill the

Company's contractual obligations with Plaintiffs.

      148. But for the primary act and/or omissions of IntelliCell Victor,

Rhodes and Mazur and/or the Board and its Officers to disclose the true

facts and otherwise by the omission of material facts, the aforesaid group of

employees shareholder-licensees would not have                         provided employee

services, purchased shares or entered into Franchise Purchase Agreements.

      149. By reason of the foregoing, Defendants have caused injury to

Plaintiffs in the property and value of their IntelliCell shares and has by such

conduct violated Section IO(b) of the Exchange Act and Rule IOb-5 (a), (b)

and (c) thereunder.

      150. By reason of the foregoing Plaintiffs have sustained a loss in the

value of his IntelliCell Securities.

      151. By reason off the foregoing IntelliCell is liable for the damages

heretofore claimed and to be proven at trial in an amount to be proven at trial

but in an amount no less than $75,000.00.

      152. By reason off the foregoing IntelliCell is liable for punitive

damages in an amount to be awarded by a jury.                                               ~
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                                         COUNTV.
    NEGLIGENCE OF THE OFFICERS OF INTELLICELL AND/OR THE
    CLAIMS OF NEGLIGENCE AS TO EACH INDIVIDUAL DEFENDANT


      153. Plaintiffs Robert            Sexauer, Jonathan Schwartz, and Natasha

Labban Regenastem, Inc., Cell Innovations Pty Ltd., Allwin                            Scientific

Corporation and PBH Holdings LLC., repeat and incorporate by reference the

allegations in Paragraphs "1" through "152" above as if fully set forth above.

      154. By reason of their positions as officers and/or directors of the

Company, and because of their ability to control the business and corporate

affairs of the Company, the Individual Defendants owed the Plaintiffs a duty of

care to act reasonably and were required to use their utmost ability when

interacting with the Plaintiffs and to act in a fair, just, honest, and equitable

manner.

      155. The Individual Defendants were, and are, required to act using due

care in their dealing with the Plaintiffs and failed to do so by reason of the

foregoing.

      156. By reason off the foregoing IntelliCell is liable for the damages

heretofore claimed and to be proven at trial in an amount to be proven at trial

but in an amount no less than $75,000.00.
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                                            COUNT VI.
               TORTIOUS INTERFERENCE WITH A CONTRACT
                             (Victor, Rhodes and Mazur)

      157. Plaintiffs Robert            Sexauer, Jonathan Schwartz, and Natasha

Labban Regenastem, Inc., Cell Innovations Pty Ltd., Allwin                            Scientific

Corporation and PBH Holdings LLC., repeat and incorporate by reference the

allegations in Paragraphs "1" through "156" above as if fully set forth above.

      158. Binding contracts existed between the Plaintiffs Robert

Sexauer, Jonathan Schwartz, Natasha Labban and Defendant IntelliCell

at all relevant time herein.

      159. Defendants Victor, Rhodes and Mazur knew of the

existence of these contracts.

      160. Defendants Victor, Rhodes and Mazur intentionally and,

with malice towards Plaintiffs, Robert Sexauer, Jonathan Schwartz, and

Natasha       Labban induced Defendant IntelliCell, to breach their

contractual obligations to these Plaintiffs.

      161. As a result of the breach, Plaintiffs Robert                                   Sexauer,

Jonathan Schwartz, and Natasha Labban have incurred damages, which

include, but are not limited to, pecuniary loss and the loss of
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opportunities to make substantial profits from their contract.                                       ~
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      162. Defendants Victor, Rhodes and Mazur are therefore jointly

and severally liable for the tort of tortuous interference with a contract

in an amount to be proven at trial but in an amount no less than

$75,000.00.

      163. By reason of the foregoing, Defendants Victor, Rhodes and

Mazur are also liable for punitive damages.

                                           COUNT VII.
                                  BREACH OF CONTRACT
                                     (Against IntelliCell)

      164. Plaintiffs Robert           Sexauer, Jonathan Schwartz, and Natasha

Labban Regenastem, Inc., Cell Innovations Pty Ltd.,                     Allwin       Scientific

Corporation and PBH Holdings LLC., repeat and incorporate by reference the

allegations in Paragraphs "1" through "163" above as if fully set forth above.

      165. Plaintiffs Robert Sexauer, Jonathan Schwartz, Natasha                         Labban,

Regenastem, Inc.,      Cell Innovations           Pty      Ltd.,      Allwin         Scientific

Corporation and PBH Holdings LLC., entered into binding agreements with

Defendant IntelliCell.

      166. The agreements were supported by valuable consideration.

      167. Defendant IntelliCell intentionally breached this agreement or

otherwise breached the agreement in a reckless, negligent or careless manner.                      V'l
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      168. By reason of the foregoing breach of contacts, Plaintiffs Robert

Sexauer, Jonathan Schwartz, Natasha              Labban,        Regenastem,         Inc., Cell

Innovations    Pty     Ltd.,     Allwin Scientific Corporation and PBH Holdings

LLC., have sustained damages, which include, but are not limited to, pecuniary

loss and the loss of opportunities to make substantial profits from the contract in

an amount to be proven at trial but in an amount no less than $75,000.00.

      169. By reason of the foregoing, Defendants Victor, Rhodes and

Mazur are also liable for punitive damages.

                                      COUNT VIII.
                                    CONVERSION
                                 (Against All Defendants)

      170. Plaintiffs Robert           Sexauer, Jonathan Schwartz, and Natasha

Labban Regenastem, Inc., Cell Innovations Pty Ltd., Allwin                           Scientific

Corporation and PBH Holdings LLC., repeat and incorporate by reference the

allegations in Paragraphs "1" through "169" above as if fully set forth above.

      171. At all relevant times, Plaintiffs were and continue to be the owed

property in the form of wages, IntelliCell shares and Franchise-License fees.

      172. Defendants, by their wrongful acts, conspired to illegally

take, and did illegally take their property which was rightfully owned by
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Plaintiffs and convert such property for their own use and benefit.                               "<t"
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          173. By reason of the foregoing theft/conversion of Plaintiff

property, Plaintiffs Robert                 Sexauer,      Jonathan Schwartz, Natasha

Labban,         Regenastem,          Inc., Cell Innovations             Pty     Ltd.,       Allwin

Scientific Corporation and PBH Holdings LLC., have sustained damages,

which include, but are not limited to, pecuniary loss and the loss of

opportunities to make substantial profits from the contract in an amount

to be proven at trial but in an amount no less than $75,000.00.

          174. By reason of the foregoing, Defendants Victor, Rhodes and

Mazur are also liable for punitive damages.

                                          COUNT IX.
                               DECLARATORY JUDGMENT
                                       (Against IntelliCell)

          175. Plaintiffs Robert          Sexauer, Jonathan Schwartz, and Natasha

Labban Regenastem, Inc., Cell Innovations Pty Ltd., Allwin                              Scientific

Corporation and PBH Holdings LLC., repeat and incorporate by reference

the allegations in Paragraphs "1" through "174" above as if fully set forth

above.

          176. An actual and justiciable controversy presently exists between

Plaintiffs and Defendants regarding shares issued and Plain.tiff ability to transfer the

shares.                                                                                              r-
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      177. Despite their promise to do so, and their lawful obligation

Defendant IntelliCell has refused to issue Plaintiffs transferable share

      178. This Court should adjudge that under the terms of the Plaintiffs

Agreements, each have been denied their right of stock transfer of their

IntelliCell shares and are entitled to the equivalent value on the date when said

were first eligible for trade an direct payment for that sum.

                                          COUNT X.
                               UNJUST ENRICHMENT
                                (Against the IntelliCell)

      179. Plaintiffs Robert           Sexauer, Jonathan Schwartz, and Natasha

Labban Regenastem, Inc., Cell Innovations Pty Ltd., Allwin                           Scientific

Corporation and PBH Holdings LLC., repeat and incorporate by reference

the allegations in Paragraphs "1" through "178" above as if fully set forth

above.

      180. IntelliCell by the improper use of employees unpaid wages and

benefits and franchisee licensees fees with the Defendant's appreciation of the

benefit related to those services-unpaid wages and investments; Defendant

IntelliCell has acceptance and retained the benefit provided by these Plaintiffs

under circumstances that make it inequitable for the Company to do so without
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paying the value of their use.                                                                    '<:!t"


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      181. By the reasons alleged in the details above, there exists a direct and

proximate result of the Company's improper use and retention of employees'

wages and :franchise licensing fees paid where the Company has caused each to

suffer significant damages as alleged heretofore.

                                        COUNT XI.
                                    ACCOUNTING
                                  (Against the IntelliCell)

      182. Plaintiffs Robert            Sexauer, Jonathan Schwartz, and Natasha

Labban Regenastem, Inc., Cell Innovations Pty Ltd., Allwin                            Scientific

Corporation and PBH Holdings LLC., repeat and incorporate by reference the

allegations in Paragraphs "1" through "181" above as if fully set forth above.

      183. Defendants should be required to account to Plaintiffs for any

and all moneys retained or otherwise obtained by IntelliCell which were

rightfully the property of the Plaintiffs any and all fees paid to Defendants

for their faithless and conflicted service.

      184. By reason of the foregoing breach of contacts, Plaintiffs Robert

Sexauer, Jonathan Schwartz, Natasha               Labban,        Regenastem,         Inc., Cell

Innovations     Pty    Ltd.,     Allwin Scientific Corporation and PBH Holdings

LLC., have sustained damages, as to payments and/or deductions paid in an
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amount to be proven at trial but in an amount no less than $75,000.00.                              ~
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     185. By reason of the foregoing, Defendant IntelliCell is liable for

punitive damages.

                                   PRAYER FOR RELIEF

      WHEREFORE, the Plaintiffs respectfully request that this Court enter an

order-and judgment on Counts ''I" through ''XI" above:

               • Against all of the Defendants and in favor of the
        Plaintiffs for the amount of damages established at trial on
        behalf of each Plaintiff directing the Individual Defendants be
        jointly and severally liable and required to indemnify for all losses,
        sustained by the Plaintiffs as a result of the Individual Defendants'
        breaches of fiduciary duties; and

               • Ordering the Defendant IntelliCell to disgorge to the
        Plaintiffs all of the funds, assets-benefits they received, including
        the proceeds of any contractual agreement between them and; and

               •     Granting appropriate equitable relief to remedy
        Defendants' breaches of fiduciary including upon an accounting
        with the a declaration as and for the ownership and value of the
        IntelliCell shares as of the date issued or otherwise tradable; and

               •    Awarding to Plaintiffs the costs and disbursements of
        this action, including reasonable attorneys' fees, accountants' and
        experts' fees, costs, and expenses; and

              •    Granting such other and further relief as the Court
      deems just and proper.

Dated: March 23, 2015
       \Vhite Plains, New York

                                    DOUGLASR.DOLL                   GER,,ESQ.(5922)          0
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                                    Attorney Plaintiff Rep sentative                          ~
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                           ATTORNEY VERIFICATION

State of New York     )
                      ) SS.:
County of Westchester )

      DOUGLAS R. DOLLINGER, an attorney duly admitted to practice And

as the attorney of record in this action affirms making this Verification and

says, that deponent that deponent has read the foregoing Pleading and knows

the contents hereof; that the same is true to deponent's own knowledge, except

as to the matters therein stated to be alleged upon information and belief, and

that as to those matters deponent believes them to be true, the source of which

said knowledge are the books and records provided to me in this matter and by

the Plaintiffs and conversations with Plaintiffs.

      That the reason the undersigned makes this verification is that the

Plaintiffs reside in a County other than the County where your deponent

maintains his practice-office.


Affirmed this 23 rct
day of March 2015




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